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         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY
         Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                                          Order Filed on July 14, 2023
         COLE SCHOTZ P.C.                                                                 by Clerk
         Michael D. Sirota, Esq. (NJ Bar No. 014321986)                                   U.S. Bankruptcy Court
         Warren A. Usatine, Esq. (NJ Bar No. 025881995)                                   District of New Jersey
         Court Plaza North, 25 Main Street
         Hackensack, New Jersey 07601
         (201) 489-3000
         msirota@coleschotz.com
         wusatine@coleschotz.com

         KIRKLAND & ELLIS LLP
         KIRKLAND & ELLIS INTERNATIONAL LLP
         Joshua A. Sussberg, P.C. (admitted pro hac vice)
         Christine A. Okike, P.C. (admitted pro hac vice)
         601 Lexington Avenue
         New York, New York 10022
         (212) 446-4800
         jsussberg@kirkland.com
         christine.okike@kirkland.com

         HAYNES AND BOONE, LLP
         Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
         Kenric D. Kattner, Esq. (admitted pro hac vice)
         30 Rockefeller Plaza, 26th Floor
         New York, New York 10112
         (212) 659-7300
         richard.kanowitz@haynesboone.com
         kenric.kattner@haynesboone.com

         Attorneys for Debtors and Debtors in Possession
         In re:                                                              Chapter 11

         BLOCKFI INC., et al.,1                                              Case No. 22-19361 (MBK)

                                                      Debtors.1              (Jointly Administered)

                        ORDER (I) ESTABLISHING THAT ALL WITHDRAWALS
                  OF WALLET ASSETS ARE FINAL AND (II) GRANTING RELATED RELIEF


DATED: July 14, 2023




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           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
           number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
           LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC
           (2422); BlockFi Services, Inc. (5965); and BlockFi Lending II LLC (0154). The location of the Debtors’ service
           address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.
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       The relief set forth on the following pages, numbered three (3) through six (6), is

 ORDERED.
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 Debtors:                   BLOCKFI INC., et al.
 Case No.                   22-19361 (MBK)
 Caption of Order:          ORDER (I) ESTABLISHING THAT ALL WITHDRAWALS OF
                            WALLET ASSETS ARE FINAL AND (II) GRANTING RELATED
                            RELIEF

         Upon the Debtors’ Application in Lieu of a Motion for Entry of an Order (I) Establishing

 that All Withdrawals of Wallet Assets are Final and (II) Granting Related Relief

 (the “Application”),2 where the above-captioned debtors and debtors in possession (collectively,
                        1




 the “Debtors”), seek entry of an order (this “Order”) establishing (a) that all withdrawals of digital

 assets from the Custodial Omnibus Wallets that are represented in the applicable Client Wallet

 Accounts as of the Platform Pause Time Stamp are final and (b) the Debtors are not liable for any

 user error in the Wallet Withdrawal Process, all as more fully set forth in the Application; and

 upon the First Day Declaration; and the Court having jurisdiction to consider the Application and

 the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

 Reference to the Bankruptcy Court Under Title 11 of the United States District Court for the

 District of New Jersey, entered July 23, 1984, and amended on September 18, 2012

 (Simandle, C.J.); and this Court having found that venue of this proceeding and the Application in

 this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

 the relief requested in the Application is in the best interests of the Debtors’ estates, their creditors,

 and other parties in interest; and this Court having found that the Debtors’ notice of the Application

 was appropriate under the circumstances and no other notice need be provided; and this Court

 having reviewed the Application; and this Court having established just cause for the relief granted

 herein; and upon all of the proceedings had before the Court and after due deliberation and

 sufficient cause appearing therefor IT IS HEREBY ORDERED THAT:



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     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application
     or the Amended Cheela Declaration [Docket No. 822], as applicable.
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                           WALLET ASSETS ARE FINAL AND (II) GRANTING RELATED
                           RELIEF

         1.       The Application is GRANTED as set forth herein.

         2.       Any withdrawal request of Wallet Assets from Client Wallet Accounts honored by

 the Debtors pursuant to the Wallet Withdrawal Process is hereby deemed final.

         3.       As established by the Order (I) Authorizing the Debtors to (A) Honor Withdrawals

 From Wallet Accounts, (B) Update the User Interface to Properly Reflect Transactions And Assets

 as of the Platform Pause, and (C) Conduct Ordinary Course Reconciliation Of Accounts, And

 (II) Granting Related Relief (the “Wallet Withdrawal Order”) [Docket No. 923], all withdrawals

 of digital assets pursuant to the Wallet Withdrawal Process shall be net of any applicable

 third-party transaction fees and/or withdrawal fees, as set forth in, and as updated from time to

 time pursuant to, the BlockFi General Terms of Service2 and the BlockFi Wallet Terms of Service.3

 To the extent such applicable fees exceed the amount of Wallet Assets that a customer is entitled

 to withdraw, then such customer shall not be entitled to withdraw any Wallet Assets.

         4.       For the avoidance of doubt, the Debtors will not charge any withdrawal or

 transaction fees on any additional items other than those provided for under the BlockFi Terms of

 Service.

         5.       For the avoidance of doubt, as provided for in the BlockFi Terms of Service, the



 2   BlockFi General Terms of Service (Fees) (“A schedule of our fees is accessible at https://blockfi.com/fees/. Fees
     are subject to change, at our sole discretion, and you understand and acknowledge that you are solely responsible
     for accessing the fee schedule prior to engaging in any services on our Online Platform”).
 3   BlockFi Wallet Terms of Service § D.6 (“For withdrawals of cryptocurrency in any calendar month, the
     transaction fees described at https://blockfi.com/fees will be deducted from the amount of cryptocurrency you
     withdraw from your BlockFi Wallet . . . We will publish any such withdrawal fees on our Website before they
     take effect, and thereafter the applicable withdrawal fee will be deducted from the amount of cryptocurrency you
     withdraw from your BlockFi Wallet”).
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                          WALLET ASSETS ARE FINAL AND (II) GRANTING RELATED
                          RELIEF

 Debtors will not be responsible or liable for any claims, costs, losses, harms, or damages, including

 the permanent loss of cryptocurrency:

                  a.      as a result of user error, including, (a) if users provide the Debtors with
                          inaccurate, incorrect, or invalid external wallet addresses, (b) if users
                          provide the Debtors with inaccurate, incomplete, or misleading details for
                          such transfer, (c) if users provide the Debtors with unsupported accounts,
                          networks, or external wallet addresses to which the Debtors are unable to
                          process transfers;4

                  b.      if users fail to maintain adequate security and control of all IDs, passwords,
                          hints, or any other codes that users may use to access their BlockFi Wallet
                          through the Debtors online platform;5

                  c.      subject to applicable law, if users’ accounts and/or passwords are hacked or
                          compromised;6

                  d.      in the event that the Debtors and/or the Debtors’ third-party partners
                          experience cyber-attacks, extreme market conditions, or other operational
                          or technical difficulties which could result in the immediate halt or
                          suspensions of transfers and withdrawals of cryptocurrency either
                          temporarily or permanently;7

                  e.      caused by an event that is beyond the Debtors’ reasonable control, including
                          the acts or omissions of third parties, natural disaster, emergency
                          conditions, disease epidemics/pandemics such as Covid-19, government
                          action, equipment or communications malfunction.8




 4   BlockFi Wallet Terms of Service §§ D.4, I.2.
 5   BlockFi Wallet Terms of Service § R.1.
 6   See BlockFi General Terms of Service (Account Security and Password).
 7   BlockFi Wallet Terms of Service § D.5.
 8   BlockFi Wallet Terms of Service § H.2.
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                          RELIEF

         6.       For the avoidance of doubt, nothing contained herein shall be construed to modify

 or alter any of the terms or provisions of the BlockFi Terms of Service, including the limitations

 of liability contained therein.

         7.       Nothing contained in this Order expands the scope of the relief granted pursuant to

 the Wallet Withdrawal Order.

         8.       The Debtors submit that the Proposed Order is in the best interests of the Debtors,

 their estates, their clients, and all parties in interest, as it will facilitate a speedy, safe, efficient, and

 accurate Wallet Withdrawal Process.

         9.       For the avoidance of doubt, nothing contained herein shall be construed (i) as a

 determination, implication, admission, or waiver of any rights or causes of action with respect to

 any potential preference or avoidance actions under chapter 5 of the Bankruptcy Code; (ii) to

 permit withdrawal from any Wallet Account owned or controlled by any (a) employee of the

 Debtors or (b) “insider” of the Debtors as such term is defined in the Bankruptcy Code, 11 U.S.C.

 § 101(31); or (iii) pending further order of the Court, to permit withdrawal from (x) any Wallet

 Account that received transfers from other non-Wallet BlockFi accounts during the ninety (90)

 days prior to the Petition Date, or (y) any Wallet Account belonging to any person that the Debtors

 reasonably believe may be subject to any avoidance actions under chapter 5 of the Bankruptcy

 Code or other rights of setoff belonging to the Debtors’ estates.

         10.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

 such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

 particular claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute any particular
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 claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication

 or admission that any particular claim is of a type specified or defined in this Order or the

 Application; (e) a determination, implication, or admission as to the status as property of the estate

 of any assets held in BIA; (f) a request or authorization to assume any agreement, contract, or lease

 pursuant to section 365 of the Bankruptcy Code; (g) a waiver or limitation of the Debtors’ rights

 under the Bankruptcy Code or any other applicable law; or (h) a concession by the Debtors that

 any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to the Application

 are valid, and the Debtors expressly reserve their rights to contest the extent, validity, or perfection

 or seek avoidance of all such liens. Any payment made pursuant to this Order is not intended and

 should not be construed as an admission as to the validity of any particular claim or a waiver of

 the Debtors’ rights to subsequently dispute such claim.

        11.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Application

        12.     Notwithstanding anything to the contrary in the Application or this Order, nothing

 in the Application or this Order constitutes a finding under the federal securities laws as to whether

 crypto tokens or transactions involving crypto tokens are securities, and the right of the United

 States Securities and Exchange Commission to challenge transactions involving crypto tokens on

 any basis are expressly reserved.

        13.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.
